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                                                        U.S. Department of Justice
                                                        United States Attorney
                                                        Eastern District of Louisiana

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                                                       November 1,2018


Honorable Susie Morgan
United States District Judge
Eastern District of Louisiana
500 Poydras Street, C-322
New Orleans, Louisiana 70130

          Re:         United States v. Jeffery B. Montalbano
                      Criminal Docket No. 18-199 "E"


Dear Judge Morgan:

          In compliance with the holding of Bryan v. United States, 492 F.2d 775 (5th Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Jeffery B. Montalbano, the
defendant, in the above-captioned proceeding. Defendant's undersigned counsel, Vincent F.
Wynne, Jr., has reviewed the terms of this agreement and has been advised by the defendant that
the defendant fully understands the terms of this agreement.

       The Government has agreed that, should the Court accept the defendant's plea of guilty as
charged to the one-count Bill of Information now pending against him, charging the defendant
with making false statements in a matter within the jurisdiction of the executive branch of the
Government of the United States, in violation of Title 18, United States Code, Section 1001(a)(2),
the Government will not bring any other charges in the Eastern District of Louisiana against the
defendant arising from either the conduct detailed in the Factual Basis, or any federal tax filings
between January 2009 and December 2016, as long as the defendant has truthfully informed
federal agents of the full details of these crimes. The defendant understands that this agreement
does not apply to any crimes of violence that the defendant may have committed.

        The defendant acknowledges that he has a right to be indicted by a grand jury on the charge
in the Bill of Information because that charge is a felony violation. The defendant agrees to waive,
in writing, and at the appropriate time, his right to be charged by grand jury indictment.

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                                                                                                 AUSA
                                                                                             Defendant
                                                                                        Defense Counsel
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